Case 2:19-cv-00910-JAP-CG Documenti1 Filed 09/27/19

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

 

YOYA’S MARKET
-and-

ALMA VILLEZCAS, as manager

Plaintiffs,

-against-

UNITED STATES OF AMERICA

Defendant

 

COMPLAINT

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Plaintiffs Yoya’s Market (the “Store”), and Alma Villezcas, (the “Individual Plaintiff’,
and collectively, the “Plaintiffs”) through their attorneys, SPODEK LAW GROUP, P.Cs
respectfully allege as follows, upon information and belief:

NATURE OF THE CLAIM

1. This is an action seeking an administrative stay pursuant to 7 C.F.R. § 279.10(d)
and judicial review of an order (the “Order”) from the Supplemental Nutrition Assistance
Program (“SNAP”) imposed by the Food and Nutrition Services (“FNS”) permanently
disqualifying Plaintiffs from participating in the food stamp program for based on alleged
violations of regulations prohibiting trafficking of SNAP benefits, and pursuant to 7 U.S.C. §
2023(a)(13), asserting claims for a trial de novo of a final agency decision by the United States
Department of Agriculture.

2. Jurisdiction of this Court is invoked pursuant to 7 U.S.C. §§ 2011, et seq. and,
more specifically, 7 U.S.C. § 2023(13).

3; The Store, which is the subject of the Order of the United States Department of
Agriculture, is in the County of Luna, State of New Mexico, which is within the jurisdiction of

the United States District Court for the District of New Mexico.

4. This Court is empowered to review the Order pursuant to 7 U.S.C. § 2023.
THE PARTIES
5. Plaintiff Yoya’s Market is a produce market with a principal place of business in

the State of New Mexico, County of Luna.
6. Individual Plaintiff Alma Villezcas is an individual who resides within the State

of New Mexico and is manager of the Store.
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7. Defendant United States of America (the “Defendant”) is formed, maintains and
controls the United States Department of Agriculture (“USDA” or the “Department”), of which
the Food and Nutrition Service is a subsidiary. The Food and Nutrition Service (FNS) of the
United States Department of Agriculture administers the Supplemental Nutrition Assistance
Program (SNAP) program by, in part, issuing Electronic Benefits Transfer (EBT) cards to
eligible users who purchase eligible food items from retailers that the FNS authorizes as

qualified SNAP participants. The retailer is reimbursed for each eligible EBT purchase.

BACKGROUND
FACTS
8. The Store was founded on or about on or about January 2012.
9. The Store is open 5 a.m. to 12 midnight, seven (7) days per week.
10. Eleven (11) employees work for the Store.
11. Atall relevant times, the Store was an authorized participant in the Supplemental

Nutrition and Assistance Program, administered by the USDA’s Food and Nutrition Services.

12. On or about April 9, 2019, the Department levied charges against the Store
relating to the alleged trafficking of SNAP benefits as demonstrated through allegedly irregular
SNAP transaction data. See, Final Agency Decision, dated August 21, 2019 as Exhibit A.

13. On or about April 11, 2019 (“April 2019 Response”) Plaintiffs responded to
USDA’s Initial Charge Letter, seeking leniency and explaining that Plaintiffs did not intend to
commit any of the alleged violations of SNAP, and furthermore, Plaintiffs had in place policies
and procedures to ensure that SNAP guidelines were followed, and thus were deserving and

eligible for a Civil Monetary Penalty (CMP). Plaintiff further stated that it would implement
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additional measures to ensure full compliance with all Department regulations moving forward.

14. As asserted in Plaintiffs’ September Responses, Plaintiffs did not commit the
above violation, and the rogue employee responsible for the alleged violations was terminated.
Furthermore, in its April 2019 Response, Plaintiffs formally requested the issuance of a civil

monetary penalty in lieu of the disqualification.

15. By letter dated May 21, 2019 USDA rendered its decision, permanently
disqualifying the Store from participation in SNAP, and denied Plaintiffs’ request for a civil
monetary penalty. See, Exhibit A.

16. | Onorabout May 29, 2019 Plaintiffs requested administrative review of the Initial
Decision.

17. Onor about August 12, 2019 Plaintiffs again responded to the USDA via written
submission. In said submission, Plaintiffs’ reasserted its satisfaction of the criteria necessary to
obtain a civil monetary penalty. See, Plaintiffs’ Administrative Review Submission, annexed
hereto as Exhibit B.

18. Notwithstanding Plaintiffs’ appeal of this decision, On August 21, 2019 USDA
issued a final decision upholding the permanent disqualification from FNS. Plaintiffs received
the Order on August 29, 2019. See, Exhibit A.

19. A large portion of Plaintiffs’ business involves SNAP.

20. A permanent suspension would likely put the Store out of business, causing the
Individual Plaintiff and the Store, and its employees to lose their jobs and be unable to support
their families.

21. Pursuant to 7 C.F.R. § 278.6(d), FNS in determining the appropriate penalty must
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consider (1) The nature and scope of the violations committed by personnel of the firm, (2) Any
prior action taken by FNS to warn the firm about the possibility that violations are occurring,
and (3) Any other evidence that shows the firm’s intent to violate the regulations.

22. Plaintiffs has never been warned and never before been sanctioned for violation
of SNAP laws or regulations. Plaintiff has never been denied SNAP payments or reimbursement
based on any SNAP program violation.

23. Plaintiffs are not aware, nor has he ever been notified or warned, of any
irregularities in their compliance with SNAP laws or regulations that might warrant his store
being targeted for a surreptitious investigation of his compliance.

24. At no time between the Store’s inception and the date of the disqualification
decision did the FNS Regional Office consider issuing a warning letter as required by 7 C.F.R.
§ 278.6(d)(2).

25. The Final Agency Decision did not find that the Regional Office complied with
7 C.F.R. § 278.6(d)(2) by considering prior efforts to warn plaintiff.

26. Plaintiffs had trained each of their employees not to permit any customer to
improperly/unlawfully attempt to traffic SNAP benefits.

27. Each of the investigator’s alleged EBT purchases occurred despite plaintiff's
explicit instructions prohibiting any unlawful acts by Plaintiffs’ employees.

28. Plaintiff immediately terminated the employee upon being informed of the
alleged EBT violations.

29. | The FNS made no specific findings as to carelessness or lack of supervision by

Plaintiffs, nor did it make a finding with respect to other evidence demonstrating intent by the
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Store to violate SNAP regulations.

30. The FNS did not find that the Plaintiffs personally participated in any alleged
unlawful SNAP transactions.

31. The closure of the Store would also likely harm the community because it is an
integral part of the community shopping environment.

32. Plaintiffs have exhausted its administrative remedies, are entitled to a judicial
trial de novo of the administrative action, and seeks reversal of the finding of a SNAP violation
and the disqualification of the Store from SNAP participation

STATEMENT OF CLAIMS

AS AND FOR A FIRST COUNT
(For an Administrative Stay)

33. Plaintiffs repeat, reiterate and reallege each and every allegation made in the
foregoing paragraphs, as if fully set forth at length herein.
34. In order to obtain a stay of enforcement in this type of matter, Plaintiffs must

demonstrate (i) irreparable harm and (ii) a likelihood of success on the merits.

35. Plaintiffs will suffer irreparable harm if forced to serve a permanent
disqualification.
36. As detailed above, a significant portion of the Store’s business is derived from

the SNAP program.
37. Assuch, permanent disqualification is likely to put the Store out of business, thus
causing irreparable harm not only to the Store and Individual Plaintiff, but also to the employees

and customers as well.
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38. As such, Plaintiffs will suffer irreparable harm.

39. Plaintiffs are also likely to succeed on the merits.

40. In this type of case, Plaintiffs are entitled to due process. The legal question is
whether or not an employer may be deprived of a valuable property right (in this case his
business). Additionally, if a plaintiff disputes the USDA’s finding that it violated program
regulations, the Food Stamp Act provides that a district court review the matter de novo to
“determine the validity of the questioned administrative action.” Yafaie v. United States, 1995
U.S. Dist. LEXIS 10022, 1995 WL 422169, at *1 (S.D.N.Y. 1995); A/tawel v. United States
Dep't of Agric. Food & Nutrition Serv., No. 12-CV-6708, 2014 U.S. Dist. LEXIS 174933, at *7
(W.D.N.Y. Dec. 18, 2014)

41. When a plaintiff is going to be deprived of a significant portion of revenues, these
revenues are considered a valuable property right. Kim v. United States, 822 F. Supp. 107, 109
(E.D.N.Y. 1993).

42. FNS violated its own regulations, 7 C.F.R. § 278.6(d)(2)-(3), which imposes a
mandatory requirement that the FNS Regional Office making a disqualification or penalty
determination consider prior action taken by FNS to warn the retailer about the possibility
violations are occurring, as well as taking into account any other action by the Store
demonstrating intent to violate SNAP regulations. The FNS never considered this prior action,
and in fact never warned plaintiff. These violations preclude FNS from imposing any penalty,
including disqualification. Further, FNS never took into consideration any evidence on the part
of the Store evincing a propensity or lack thereof with respect to violating SNAP regulations.

43. The finding by the FNS at the administrative review level illegally attempts to
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avoid a clear violation of section 278.6(d)(2)-(3) by completely failing to take into account any
warning requirement and attempts to white-wash misconduct by both the investigator and the
FNS Regional Office, as well as any evidence demonstrating an intent to violate SNAP
regulations.

44. As such, since Plaintiffs will suffer irreparable harm and are likely to succeed on
the merits, an administrative stay of the permanent disqualification is warranted.

AS AND FOR A SECOND COUNT
(For Judicial Review of the Order and Trial de novo)

45. Plaintiffs repeat, reiterate and reallege each and every allegation made in the
foregoing paragraphs, as if fully set forth at length herein.

46. Under the laws governing the Act, a plaintiff is usually entitled to a trial de novo
by a court to “determine the validity of the questioned administrative action” as well as a trial
de novo of whether the FNS followed the Act and regulations in finding a violation resulting
from carelessness or poor supervision, whether the Department considered any prior warnings
to the Store, and whether FNS decision to impose said penalty was arbitrary and capricious. See,
7 USC, § 2023,

47. FNS violated its own regulations, 7 C.F.R. § 278.6(d)(2)-(3), which imposes a
mandatory requirement that the FNS Regional Office making a disqualification or penalty
determination consider prior action taken by FNS to warn the retailer about the possibility
violations are occurring. The FNS never considered this prior action.

48. Pursuant to 7 C.F.R. §§ 2023(13) and 2023(15), Plaintiff is entitled to a trial de

novo on whether he violated a provision of the Act or a regulation under the Act, including trial
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de novo of whether the FNS followed the Act and regulations in finding the violation occurred

as alleged.

49. Plaintiffs have been aggrieved by the determination of the USDA and aver that
the agency's findings are unsupported by reliable probative evidence and are otherwise the

product of unlawful agency action.

50. As such, the Order should be extinguished.

51. Even if a trial de novo is not awarded, the penalty imposed was arbitrary and
capricious.

52. The Regulatory Flexibility Act, 5 U.S.C. § 601-612, requires agencies to analyze
the impact of rulemaking on small entities, such as the Store, and consider alternatives that would
minimize any significant impacts on a substantial number of small entities.

53. Here, the guidelines purportedly followed by SNAP allow a civil monetary
penalty in lieu of a disqualification.

54. Further, the applicable regulation allows for a monetary penalty in lieu of
disqualification where suspending a vendor from SNAP would present a hardship for the
community. See, 7 C.F.R. § 278.6(f)(1). As detailed above, the disqualification of Plaintiffs
would cause such a hardship.

55. In the instant case, Plaintiffs have clearly demonstrated their entitlement to a civil
monetary penalty in lieu of disqualification. As the administrative record reflects, Individual
Plaintiff has submitted evidence, including photographs and statements from the owner which

satisfy the criteria necessary to qualify for a civil monetary penalty.
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56. As such, the decision to not issue a civil monetary penalty in lieu of

disqualification was arbitrary and capricious

57. Plaintiff respectfully requests that the court vacate the Final Agency Decision and
immediately reinstate the Plaintiff as a SNAP participant, because:
e The FNS violated its own regulations and thus cannot impose any sanction;
e FNS has acted arbitrarily and capriciously and violated its own regulations in
imposing a penalty of permanent disqualification;
e The permanent disqualification will cause hardship to SNAP recipients in the
area surrounding the plaintiffs’ store.

58. Alternatively, the Court should either: find no sanction appropriate, but direct

issuance of a written warning; or reduce the disqualification to a reasonable civil money penalty.

59. No prior relief has been requested.
PRAYER FOR
RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court grant the following
relief:

A. A stay of the disqualification ordered by USDA; and

B. De novo review of the Order and the subsequent extinguishment thereof; or

G Extinguishment of the Order as FNS has acted arbitrarily and capriciously
and violated its own regulations in imposing a penalty of permanent
disqualification without properly considering all statutory factors; and

D. Order Defendants to make whole Plaintiffs who lost revenues by not being

able to collect monies through the SNAP program; and
EB. Grant such further relief as this Court deems necessary and proper in the

public interest; and
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F, Order Defendants to reimburse Plaintiffs for all costs and fees associated

with the commencement and prosecution of this lawsuit.

JURY TRIAL
DEMAND

Plaintiffs request a jury trial on all questions of fact raised by their complaint.

Dated: Deming, New Mexico
September 27, 2019
SPODEK LAW GROUP, P.C.

    
 

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